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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

WORLD FUEL SERVICES, INC.                                                         CIVIL ACTION

VERSUS                                                                                NO. 10-4605

SE SHIPPING LINES PTE LTD.                                                      SECTION “K”(3)


                                    ORDER AND REASONS

       Before the Court is a Motion to Vacate Attachment and to Dismiss This Lawsuit for Lack

of Subject Matter Jurisdiction (Doc. 85). In this second motion to vacate filed by defendant S.E.

Shipping Lines PTE Ltd. (“SESL”), defendant now contends that the requirements to maintain a

Rule B maritime attachment are not present and the maritime attachment in place should be

vacated. In addition, SESL contends that because the claims asserted in this lawsuit are not

maritime in nature, the Court has no subject matter jurisdiction over this dispute. Having

reviewed the pleadings, memoranda and the relevant law, the Court will deny the motion.

       The facts and circumstances surrounding this suit have been outlined in detail in previous

rulings issued by this Court. As this motion was noticed for the last possible hearing date

allowed under the scheduling order and considering the Court’s belief that a swift decision is

necessitated, the Court will dispense with a regurgitation of the facts of this case. Simply put,

the gravamen of this dispute arises from bunkers being provided to defendant, alleged non-

payment to the entity(ies) that supplied those bunkers and suit being filed to recover contractual

damages for the alleged non-payment. Indeed, this Court on November 8, 2011, specifically

found that defenses raised by SESL up to that time were without merit and that the quantum

owed to World Fuel Service, Inc. (“World Fuel”) was the only issue to be decided at trial. (Rec.

Doc. 71).
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       Nonetheless, at this late juncture, SESL has raised the issue that World Fuel Services,

Inc. is not the proper party to have brought this Rule B action because it is not the “real party in

interest” as defined by Fed. R. Civ. P. 17(a). It contends that under the terms of The World Fuel

Services Corporation Marine Group of Companies General Terms and Conditions (“the General

Terms and Conditions”), only the “Confirmations” and the General Terms constitute the

complete and exclusive agreement governing the transaction in question. A “Confirmation”

consists of an e-mail, fax or other writing from the seller to buyer. Based on its review of the 49

“Confirmations” at issue herein, SESL maintains that World Fuel is not the proper party as it is

not a signatory to any of these “confirmations”; rather the vast majority of them issued from

World Fuel Services Europe, Ltd.

       Rule 17(a) (1) of the Federal Rules of Civil Procedure states, “An action must be

prosecuted in the name of the real party in interest.” In the event a court finds that the

prosecution of the suit has not been brought by a real party in interest, the court may not dismiss

the action, but “after an objection, a reasonable time has been allowed for the real party in

interest to ratify, join or be substituted into the action”, the action proceeds as if had been

originally commenced by the real party in interest. Fed. R. Civ. P. 17(a)(3).

       “This provision requires the defendant to object in time to allow the opportunity for

joinder of the ostensible real party in interest, and the defense may be waived if the defendant

does no timely object.” In re Signal Infernal , L.L.C. , 579 F.3d 478, 487-88 (5th Cir. 2009)

citing Gogol in & Shelter v. Kahn’s Auto Imps., Inc., 866 F.2d 100, 102) (5th Cir. 1989). Such

objection is considered timely “so long as joinder of the real party in interest remains “practical

and convenient.’” Id. A “[t]ardy objection is inconvenient when it hinders the ‘goal of judicial


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efficiency’ or manifests the defendant’s intention to ‘lay behind the log’ in ambush.” Id.

(citations omitted).   The Fifth Circuit Court of Appeals noted:

                There is no magic formula for determining practicality and convenience.
       See 6A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY
       KANE, FEDERAL PRACTICE AND PROCEDURE § 1554 (2d ed. 1990)
       (noting that Rule 17 does not “indicate when the challenge should be made” and
       documenting that an objection should be made with “reasonable promptness”).
       The decision turns on the facts of each case and is within the discretion of the
       district court. Id. (“[T]he courts should be given the flexibility to treat the waiver
       question as one addressed to their discretion so that the issue can be determined in
       terms of what seems appropriate in a particular case.”). The relevant factors for
       making this determination are when the defendant knew or should have known
       about the facts giving rise to the plaintiff’s disputed status as a real party in
       interest; whether the objection was raised in time to allow the plaintiff a
       meaningful opportunity to prove its status; whether it was raised in time to allow
       the real party in interest a reasonable opportunity to join the action if the
       objection proved successful; and other case-specific considerations of judicial
       efficiency or fairness to the parties.

In re Signal, 579 F.3d at 488.

       Pretermitting whether there is any validity in SESL’s contention that World Fuel

Services, Inc. is not the proper party to this litigation, the Court first notes that SESL itself made

a legal admission in its Response to Plaintiff’s Statement of Undisputed Material Facts on July

12, 2011 (Doc. 54-2) that “SE Shipping Lines PTE GTD (SESL”) and World Fuel Service, Inc.

(“WFS”) entered into agreements for the sale and purchase of bunkers for use on ship operated

by sesl and agreed that WFS’ General Terms and Conditions controlled those agreements.” Id.

at ¶ 1. This admission would certainly weigh against SESL’ present contention. Furthermore,

the materials upon which SESL now relies to raise this real party in interest defense, that is the

confirmations, have long been in the defendant’s control and were presented to the Court in the

context of prior motions. Clearly, SESL had the necessary information to raise this issue long

before now. Indeed, even the deposition testimony of Lori Cooperider concerning WFS’s actions

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was taken on April 15, 2011, more than a year ago. Thus, SESL’s motion is not “ timely” as

joinder of the real party in interest is not “practical and convenient” at this stage in these

proceedings giving the facts and circumstances of this litigation. As such the Court finds that

SESL has waived this defense.

       The Court notes that the two entities which issued the confirmations, World Fuel

Services Europe Ltd. and World Fuel Services (Singapore) PTE Ltd., have assigned their claims

to the present World Fuel defendant. Having found that SESL has waived this defense, the

Court need not determine whether the assignment vitiates the real party in interest issue.

       The next issue presented is SESL’ contention that World Fuel’s claims, if any, are not

maritime in nature because this suit is not one for non-payment of bunkers, rather it is solely for

administrative fees and costs. As such, SESL argues that there is no maritime jurisdiction. This

allegation is based on SESL’ argument that World Fuels improperly re-allocated payments made

by SESL for bunkers under the provisions of the Terms and Conditions.

       First, there are questions of fact concerning the allocations as previously noted in the

Court’s November ruling. If any portion of the amount sought is for bunkers, then clearly there

is maritime jurisdiction. There are material facts involved concerning this issue and summary

judgment is not appropriate as World Fuel contends a substantial portion of the amount sought is

for bunkers. Furthermore, it appears to the Court that SESL’s position rests on the analysis of

cases brought pursuant to Rule C rather than Rule B, which rule is the basis alleged for maritime

jurisdiction by World Fuels in this matter. Thus, the Court will deny SESL motion as to

maritime jurisdiction being unavailable and will require more extensive briefing on that issue

with respect to Rule B in the parties’ Pretrial Memoranda.


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       Finally, as to any contention that there is no subject matter jurisdiction under 28 U.S.C. §

1332(a)(2), the Court finds no merit in same as World Fuels is a Texas citizen and SESL is an

alien, which means that diversity jurisdiction is present. This matter shall proceed to trial as

scheduled. Accordingly,

       IT IS ORDERED that Motion to Vacate Attachment and to Dismiss This Lawsuit for

Lack of Subject Matter Jurisdiction (Doc. 85) is DENIED.

       IT IS FURTHER ORDERED that briefing on the availability of maritime jurisdiction

pursuant to Rule B shall be more fully briefed in the parties’ Pretrial Memoranda to be filed on

July 27, 2012.

       New Orleans, Louisiana, this 13th day of July, 2012.




                                                       STANWOOD R. DUVAL, JR.
                                               UNITED STATES DISTRICT COURT JUDGE




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